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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
               Plaintiff,
                                                        CASE NO: 4:17MJ3093
      vs.

JUAN JESUS NAVA,                                         DETENTION ORDER
               Defendant.



      The defendant is charged with a drug crime under the Controlled Substances Act
(21 U.S.C. § 801 et seq.), for which the defendant could be required to serve ten or
more years in prison. On the government's motion, the court held a detention hearing
under the Bail Reform Act, 18 U.S.C. § 3142(f). The court concludes the defendant
must be detained.

      There is a rebuttable presumption that no condition or combination of conditions
of release will reasonably assure the defendant’s appearance at court proceedings and
the safety of the community because there is probable cause to believe the defendant
committed a drug crime under the Controlled Substances Act (21 U.S.C. § 801 et seq.),
for which the defendant could be required to serve ten or more years in prison. The
defendant has not rebutted this presumption.

      Based on the evidence presented and information of record, the court finds by a
preponderance of the evidence that the defendant's release would pose a risk of
nonappearance at court proceedings, and by clear and convincing evidence that the
defendant's release would pose a risk of harm to the public

      Specifically, the court finds that the defendant has a criminal history of violating
the law and court orders; repeatedly violated conditions of release previously imposed
by a court; has a history of harming or threatening harm to others; is addicted to or
abuses mood-altering chemicals and is likely to continue such conduct and violate the
law if released; has limited employment contacts; and conditions which restrict
Defendant’s travel, personal contacts, and possession of drugs, alcohol, and/or
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firearms; require reporting, education, employment, or treatment; or monitor
Defendant’s movements or conduct; or any combination of these conditions or others
currently proposed or available (see 18 U.S.C. § 3142(c)), will not sufficiently ameliorate
the risks posed if the defendant is released.

                             Directions Regarding Detention

       The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or held in custody
pending appeal. The defendant must be afforded a reasonable opportunity to consult
privately with defense counsel. On order of the United States Court or on request of an
attorney for the Government, the person in charge of the corrections facility must deliver
the defendant to the United States marshal for a court appearance.

       Dated September 11, 2017.

                                                 BY THE COURT:
                                                 s/ Cheryl R. Zwart
                                                 United States Magistrate Judge
